                                                                                  ORDER:
                                                                                  Motion granted.


                        UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION                                   U.S. Magistrate Judge

UNITED STATES OF AMERICA                        )
                                                )
vs.                                             )          No. 3:13-00097
                                                )          Judge Kevin Sharp
KAYCEE ANNE BREEDEN                             )

            SECOND MOTION TO CONTINUE DETENTION HEARING

        The Defendant, Kaycee Anne Breeden, by and through counsel, hereby moves to
 continue the detention hearing currently set for the afternoon of October 17, 2013.
 Counsel for Ms. Breeden has conferred with opposing counsel, US Probation and the
 Court concerning a new date. It appears that October 30, 2013 at 1:30 PM is convenient to
 all. Counsel therefore moves that this matter be reset for hearing on October 30, 2013 at
 1:30 PM.
                                     Respectfully submitted,


                                     /s/ John P. Cauley
                                     John P. Cauley, Attorney
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                                CERTIFICATE OF SERVICE

        I hereby certify that on October 15, 2013 a copy of the foregoing was electronically
filed. Notice of this filing will be sent by operation of the Court’s electronic filing system to
all parties indicated on the electronic filing receipt, namely Assistant U.S. Attorney Brent A.
Hannafan, 110 9th Avenue South, Suite A-961, Nashville, TN 37203, along with all other
defendants in this case. All other parties will be served by regular U.S. Mail. Parties may
access this filing through the Court’s electronic filing system.

                                            /s/ John P. Cauley




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